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                                 United States District Court
                                 Southern District of Florida
                                Case No. 21-60125-CIV-Scola/Snow

  ____________________________________
  JIANGMEN BENLIDA PRINTED
  CIRCUIT CO., LTD., plaintiff,
        v.
  CIRCUITRONIX, LLC, defendant.
  ____________________________________

                  Motion Requesting Permission for Certain Benlida Witnesses
                 to be Allowed to Attend Hearing Remotely, or Alternatively to
                        Reschedule Hearing for Earlier Date in January
         Plaintiff Jiangmen Benlida Printed Circuit Co., Ltd. (“Benlida” or “BLD”), by the law

  firm of Mazzola Lindstrom LLP, and counsel of record Jean-Claude Mazzola, hereby moves for

  an order allowing certain Benlida witnesses – specifically, Benlida officers Huang Sulan

  (“Tracy”) and Wu Yukun (“Roger”), and Huang Hanchao (“Douglas”) – to attend the scheduled

  evidentiary hearing, currently scheduled for January 24, 2023 at 9:00 am. In the alternative,

  Benlida requests an early January hearing date. I state the following facts under penalty of

  perjury, pursuant ot 28 U.S.C. § 1746.

         1.      As the court will recall, on November 28, 2022, Benlida filed a motion to enforce

  the settlement agreement entered into by the parties, and on November 30th, the court issued a

  paperless order scheduling an evidentiary hearing, stating that “CTX is required to bring as

  witnesses all persons involved in the decision to send the November 17, 2022 ‘Notice of

  Termination of Settlement Agreement’ letter.”

         2.      While the paperless order of November 30th scheduled the hearing for December

  14th, on December 1st Circuitronix requested an adjournment of the hearing, which – as

  Circuitronix noted in its application – was opposed by Benlida. On the same day, this court

  adjourned the hearing to January 24, 2023 at 9:00 am.
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         3.      Based upon the terms of the original order, it is Benlida’s belief that its own

  witnesses directors and officers are not required at the hearing. Nevertheless, it may be necessary

  to call certain Benlida witnesses in order to rebut statements made by Circuitronix witnesses,

  should there be testimony at the hearing about what was stated during the Zoom conference call

  that took place on the morning of November 17th, or to otherwise rebut testimony from

  Circuitronix witnesses. As Benlida’s witnesses would only be necessary for rebuttal, it is

  respectfully requested that they be permitted to attend via Zoom (or the like, such as via Teams

  Meeting). 1

         4.      In the event that the Benlida’s witnesses cannot attend by Zoom or the like, it is

  respectfully requested that the hearing be moved to an early date in January, because, upon their

  return to China, the Benlida witnesses would still be required to quarantine. Though China has

  recently eased certain restrictions, the rules applicable to those returning to China are still

  onerous, with at least a five-day quarantine still required. See “China Travel Restrictions &

  Travel Advisory (Updated December 8, 2022)” at link.

         5.      Chinese New Year, a weeklong national holiday in China, begins on Sunday,

  January 22, 2023. If required to travel for the January 24th hearing, the Benlida witnesses would

  lose out on their entire holiday and vacation.

         6.      We respectfully requrest that the Benlida witnesses, all of whom are officers of

  the company, either be permitted to attend the January 24th hearing remotely, via Zoom (or the



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    Tracy Huang is the sales director for Benlida; Roger Wu is the accounting/finance manager; Douglas
  Huang is director of operations. We note that while they all understand English, Roger Wu would require
  a Cantonese translator (or at least a Mandarin translator), while Tracy and Douglas are fluent English
  speakers. We understand that cumulative testimony would neither be allowed nor appreciated, and that –
  if necessary – we would therefore expect to call only Ms. Huang in rebuttal, as she is the most fluent.
  However, depending on what is elicited by Circuitronix, the game plan (so to speak) may change. Benlida
  also expects to have in attendance, in person, its forensic accountant Randall Paulikens, CPA.
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  like), or telephone-only (should the court prefer); in the alternative, Benlida respectfully requests

  that the court reschedule the three-hour hearing for an earlier date in January.

         7.      We have consulted with counsel for Circuitronix, who advises that January 11,

  12, and 13 would work, if an earlier date were to be scheduled. (Counsel also advised that the

  week of January 16th would work for Circuitronix; however, that week poses the same problem

  for Benlida because of the quarantine requirement upon their witnesses’ return to China).

  Accordingly, Benlida respectfully requests that the hearing be conducted on January 11, 12, or

  13, in the event the court declines to permit Benlida witnesses to appear remotely.

                                             Certification
         Pursuant to Local Rule 7.1(a)(3), undersigned counsel for Benlida certifies that I have

  conferred with opposing counsel Stephen Rosenthal, who advises that he consents to the relief

  sought herein, with the proviso that Circuitronix’s agreement that Benlida may appear remotely

  for the hearing is not a waiver of its right to require in-person attendance of Benlida witnesses in

  the event that the termination of the settlement agreement is upheld and the case proceeds to

  further discovery and trial.

  Dated: New York, New York
         December 14, 2022                              Respectfully submitted,

                                                        MAZZOLA LINDSTROM LLP
                                                        Attorneys for Plaintiff Benlida

                                                        By: /s/ Jean-Claude Mazzola
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                                       Certificate of Service
         I hereby certify that a true copy of the foregoing has been served via electronic mail on a

  registered CM/ECF user on December 14, 2022.


                                              By: /s/ Jean-Claude Mazzola___
                                                      Jean-Claude Mazzola




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